        Case 1:13-cv-07789-LGS Document 1230 Filed 03/08/19 Page 1 of 4
                                                             USDC SDNY
                                                             DOCUMENT
                                                             ELECTRONICALLY FILED
                                                             DOC #:
                        UNITED STATES DISTRICT COURT         DATE FILED:3/8/2019
                      SOUTHERN DISTRICT OF NEW YORK



  IN RE FOREIGN EXCHANGE                            No. 1:13-cv-07789-LGS
  BENCHMARK RATES ANTITRUST
  LITIGATION




      XXXXXXXXXXXX
      [PROPOSED] ORDER APPROVING AN INITIAL DISTRIBUTION OF THE
                          SETTLEMENT FUND

       WHEREAS Plaintiffs, by and through their counsel, Scott+Scott Attorneys at Law LLP

                                                          XXXXXXXX Distribution Order in the
and Hausfeld LLP, have moved this Court for entry of this [Proposed]

above-captioned class action (the “Action”), and the Court having considered all materials and

arguments submitted in support of the Motion, including the Declaration of Shannon Casey (the

“Casey Declaration”) and Memorandum of Law in Support of Plaintiffs’ Motion for Entry of an

Order Approving an Initial Distribution of the Settlement Fund (“Memorandum”) submitted

therewith;

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.     Unless otherwise defined herein, all capitalized terms have the meanings ascribed

to them in the Stipulation and Agreement of Settlement with Bank of America Corporation, Bank

of America, N.A., and Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Bank of America

Stipulation”); Stipulation and Agreement of Settlement with Barclays Bank PLC and Barclays

Capital Inc. (“Barclays Stipulation”); Stipulation and Agreement of Settlement with BNP Paribas

Group, BNP Paribas North America Inc., BNP Paribas Securities Corp., and BNP Prime

Brokerage, Inc. (“BNP Paribas Stipulation”); Stipulation and Agreement of Settlement with

Citigroup Inc., Citibank, N.A., Citicorp, and Citigroup Global Markets Inc. (“Citigroup
        Case 1:13-cv-07789-LGS Document 1230 Filed 03/08/19 Page 2 of 4




Stipulation”); Stipulation and Agreement of Settlement with The Goldman Sachs Group, Inc. and

Goldman, Sachs & Co. (“Goldman Sachs Stipulation”); Stipulation and Agreement of Settlement

with HSBC Holdings PLC, HSBC Bank PLC, HSBC North America Holdings Inc., HSBC Bank

USA, N.A., and HSBC Securities (USA) Inc. (“HSBC Stipulation”); Stipulation and Amended

Agreement of Settlement with JPMorgan Chase & Co. and JPMorgan Chase Bank, N.A.

(“JPMorgan Amended Stipulation”); Stipulation and Agreement of Settlement with The Royal

Bank of Scotland Group PLC, The Royal Bank of Scotland PLC, and RBS Securities Inc. (“RBS

Stipulation”); Stipulation and Amended Agreement of Settlement with UBS AG, UBS Group AG,

and UBS Securities LLC (“UBS Amended Stipulation”); Stipulation and Agreement of Settlement

with The Bank of Tokyo-Mitsubishi UFJ, Ltd. (“BTMU Stipulation”); Stipulation and Agreement

of Settlement with Morgan Stanley, Morgan Stanley & Co., LLC, and Morgan Stanley & Co.

International plc (“Morgan Stanley Stipulation”); Stipulation and Agreement of Settlement with

RBC Capital Markets, LLC (“RBC Stipulation”); Stipulation and Agreement of Settlement with

Société Générale (“Soc Gen Stipulation”); Stipulation and Agreement of Settlement with Standard

Chartered Bank (“Standard Chartered Stipulation”); and Stipulation and Agreement of Settlement

with Deutsche Bank AG (“Deutsche Bank Stipulation”). ECF Nos. 481 (Ex. 1-9), 822 (Ex. 1-5),

877 (Ex. 1). The foregoing Stipulations are collectively referred to as the “Settlements” or the

“Settlement Agreements,” and the foregoing defendants are collectively referred to as the “Settling

Defendants.”

       2.      The Court has jurisdiction over the subject matter of the Action and over all parties

to the Action, including all Settlement Class Members.

       3.      Plaintiffs’ plan for the initial distribution of the Settlement Fund to Authorized

Claimants is APPROVED. Accordingly,




                                                 2
Case 1:13-cv-07789-LGS Document 1230 Filed 03/08/19 Page 3 of 4




       a.       The administrative recommendations of the Court-approved Claims

Administrator, Epiq Class Action and Claims Solutions, Inc. (“Epiq”), to accept the

Authorized Claims set forth in Exhibits 1, 2, and 3 to the Casey Declaration are adopted;

       b.       Epiq shall conduct an “Initial Distribution” of the Net Settlement Fund as

follows:

              i.        Authorized Claimants listed in Exhibit 1 to the Casey Declaration

       shall be paid $15.

             ii.        Authorized Claimants listed in Exhibit 2 to the Casey Declaration

       shall be paid $150.

            iii.        Authorized Claimants listed in Exhibit 3 to the Casey Declaration

       shall be paid their respective pro rata shares subject to a 35 percent holdback, which

       will be held in reserve (the “Reserve”). Funds remaining in the Reserve after final

       determinations of the participation rate by volume and amount of the Net

       Settlement Fund will be distributed pro rata to Authorized Claimants in subsequent

       distributions.

       c.       In order to encourage Authorized Claimants to promptly deposit their

distribution checks, and to avoid or reduce future expenses relating to unpaid distribution

checks, all distribution checks will bear a notation “CASH PROMPTLY; VOID AND

SUBJECT TO RE-DISTRIBUTION IF NOT NEGOTIATED BY [DATE 90 DAYS

AFTER ISSUE DATE].” Class Counsel and Epiq are authorized to take appropriate action

to locate and/or contact any Authorized Claimant who has not deposited his, her, or its

check within said time.




                                         3
        Case 1:13-cv-07789-LGS Document 1230 Filed 03/08/19 Page 4 of 4




               d.     Authorized Claimants who do not negotiate their funds within the time

       allotted will be presumed to forfeit any recovery for their respective Claim Forms from the

       Settlement Fund, unless otherwise determined by Class Counsel. Any forfeited recoveries

       will become available for re-distribution as part of subsequent distributions.

       4.      This Court retains jurisdiction to consider any further applications concerning the

administration of the Settlement, and such other further relief as this Court deems appropriate.

       IT IS SO ORDERED.



DATED: March 8
       _________________, 2019
       New York, New York


                                                     HON. LORNA G. SCHOFIELD
                                                     UNITED STATES DISTRICT JUDGE




                                                 4
